                     Case
AO 467 (Rev. 01/09; CAND     5:21-mj-71765-MAG
                         version                                Document
                                 03/19) Order Requiring a Defendant               5 District
                                                                    to Appear in the  Filed    11/10/21
                                                                                             Where              Pageand1Transferring
                                                                                                   Charges are Pending   of 1 Bail




                                             UNITED STATES DISTRICT COURT

                                          NORTHERN DISTRICT OF CALIFORNIA


          United States of America                            Case No. 21-mj-71765-MAG-1 (KAW)
                     v.
                                                              Charging District: Western District of Texas, Austin
          ROBERT REYES,
                                                              Charging District’s Case No.: A21-CR-223 LY
                              Defendants.




            ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT WHERE
                    CHARGES ARE PENDING AND TRANSFERRING BAIL


                 After a hearing in this court, the defendant is released from custody and ordered to appear
       in the district court where the charges are pending to answer those charges. The time and place
       to appear in that court are as follows:


         Place: U.S. District Court, Western                       Courtroom of assigned Judge L. Yeakel

         District of Texas – 501 West 5th Street,                  Date and Time: TBD by assigned Judge L. Yeakel
         Suite 7300, Austin TX 78701

                 If the date or time to appear in that court has not yet been set, the defendant must appear
       when notified to do so.

                 The clerk is ordered to transfer any bail deposited and interest earned thereon in the
       registry of this court, plus earned interest, to the clerk of the court where the charges are pending.


       Dated: 11/10/2021

                                                                      ______________________________________
                                                                      Kandis A. Westmore
                                                                      United States District Judge



       Transfer_No-Custody_CR_AO 467_CSA
       rev. 3-19
